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 8                            UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   BEAZLEY UNDERWRITING, LTD.,                 )     Case No.: SACV 21-00642-CJC (DFMx)
                                                 )
12                                               )
                 Plaintiff,                      )
13                                               )
           v.                                    )
14                                               )     ORDER GRANTING DEFENDANT’S
                                                 )     MOTION TO DISMISS OR STAY
15   FITNESS INTERNATIONAL, LLC,                 )     PLAINTIFF’S CLAIM [Dkt. 9]
                                                 )
16                                               )
                 Defendant.                      )
17                                               )
                                                 )
18                                               )
                                                 )
19                                               )
                                                 )
20                                               )
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21                                               )
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23

24   I. INTRODUCTION
25

26         Plaintiff Beazley Underwriting, Ltd. (“Beazley”) filed this action for declaratory
27   judgment against Defendant Fitness International, LLC (“Fitness International”) to
28   determine whether Fitness International’s COVID-related losses are covered by its

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 1   insurance policy with Beazley. (Dkt. 1 [Complaint, hereinafter “Compl.”].) Now before
 2   the Court is Fitness International’s motion to dismiss or stay Beazley’s claim. (Dkt. 9-1
 3   [hereinafter “Mot.”].) For the following reasons, Fitness International’s motion to stay is
 4   GRANTED.1
 5

 6   II. BACKGROUND
 7

 8          Fitness International operates over 700 fitness centers across the United States,
 9   with over 100 locations in California and nearly 30 in Washington state. (Compl. ¶ 11;
10   Dkt. 9-2 [Declaration of Michael Finnegan, hereinafter “Finnegan Decl.”] Ex A ¶ 9.)
11   Fitness International’s properties are covered by a subscription insurance policy issued by
12   Zurich American Insurance Company (“Zurich”), which provides coverage for property
13   damage and loss of business income. (Compl. ¶¶ 11–15.) In a subscription policy,
14   various individual insurers, like Beazley, cover or “subscribe” to smaller portions of the
15   overall policy. (See id. ¶ 12.) Beazley is one of eleven insurers subscribed to Fitness
16   International’s overall 2020–2021 policy. Each policy issued by an individual insurer
17   incorporates the Zurich master policy along with additional forms required by that
18   individual insurer. (See id. ¶¶ 28, 39.)
19

20          After not receiving coverage for COVID-related losses under both its 2019–2020
21   and 2020–2021 policies, Fitness International filed two separate lawsuits. First, in
22   September 2020, Fitness International filed a complaint against its 2019–2020 insurers in
23   Orange County Superior Court. (Id. ¶ 15.) The case was then removed to this District
24   but Fitness International voluntarily dismissed its claims before the court ruled on the
25   insurers’ motion to dismiss. (Id. ¶¶ 16–17.)
26
     1
27     Having read and considered the papers presented by the parties, the Court finds this matter appropriate
     for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
28   for May 24, 2021 at 1:30 p.m. is hereby vacated and off calendar.

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 1         On January 6, 2021, the same day that Fitness International voluntarily dismissed
 2   its claims, it filed similar claims against the 2019–2020 insurers in Washington state
 3   court. (Id. ¶ 18.) Then, after receiving “no meaningful response” from its 2020–2021
 4   insurers about its claims for that year, Fitness International sought to file a second lawsuit
 5   in Washington state court against those insurers. (Mot. at 5.) Before Fitness
 6   International could do so, however, Washington law required it to provide a 20-day
 7   notice to the defendants. (See Compl. ¶¶ 22–23.) Fitness International provided the
 8   2020–2021 insurers, including Beazley, with notice of its intent to file suit on March 18,
 9   2021. (Id.)
10

11         On April 6, 2021, before Fitness International could file its lawsuit against the
12   2020–2021 insurers, Beazley filed this action seeking a declaratory judgment to
13   determine “whether Fitness International is entitled to business income coverage and/or
14   coverage for property damage for its claimed COVID-19 losses.” (Id. ¶ 24.) Two days
15   later, on April 8, Fitness International filed its claims for declaratory relief and breach of
16   contract against the 2020–2021 insurers in Washington state court. (Finnegan Decl.
17   Ex. A.) On May 7, 2021, the Washington state court consolidated Fitness International’s
18   suit against the 2020–2021 insurers with its earlier suit against the 2019–2020 insurers.
19   (Dkt. 13-1 ¶ 4.) The insurers have filed a motion to dismiss based on forum non
20   conveniens which is still pending before the Washington court. (Id. ¶ 5.)
21

22   III. DISCUSSION
23

24         District courts “possess discretion in determining whether and when to entertain an
25   action under the Declaratory Judgment Act, even when the suit otherwise satisfies subject
26   matter jurisdictional prerequisites.” Wilton v. Seven Falls Co., 515 U.S. 277, 282 (1995).
27   The Court has “broad discretion” to stay declaratory judgment actions when related state
28   proceedings are pending. See id. at 282–83. The factors guiding the Court’s exercise of

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 1   discretion were set out by the Supreme Court in Brillhart v. Excess Insurance Company,
 2   316 U.S. 491, 495 (1942). As explained by the Ninth Circuit, the Brillhart factors
 3   include the following: “The district court should avoid needless determination of state
 4   law issues; it should discourage litigants from filing declaratory actions as a means of
 5   forum shopping; and it should avoid duplicative litigation.”2 Gov’t Emps. Ins. Co. v.
 6   Dizol, 133 F.3d 1220, 1225 (9th Cir. 1998). In addition, “[i]f there are parallel state
 7   proceedings involving the same issues and parties pending at the time the federal
 8   declaratory action is filed, there is a presumption that the entire suit should be heard in
 9   state court.” Id. (citing Chamberlain v. Allstate Ins. Co., 931 F.2d 1361, 1366–67 (9th
10   Cir. 1991)). In the insurance context, a claim for declaratory judgment to determine
11   coverage may be stayed pending resolution of the underlying state court action. Polido v.
12   State Farm Mut. Auto. Ins. Co., 110 F.3d 1418, 1423 (9th Cir. 1997), overruled on other
13   grounds by Dizol, 133 F.3d at 1220. In this context, a stay is appropriate even when
14   there are “differences in factual and legal issues between the state and federal court
15   proceedings” or when the insurer is not a party to the state court action. Id.
16

17          Under the first Brillhart factor, entertaining Beazley’s declaratory judgment action
18   would require needless determination of state law issues. The parties do not dispute that
19   the coverage issues in the Complaint will be decided by applying state insurance and
20   contract law. Determining whether Fitness International’s COVID-related losses are
21   covered by its insurance policy with Beazley would necessarily require interpretation of
22   the insurance policy, which is an area traditionally within the purview of the states. See
23
     2
24     The Ninth Circuit has acknowledged that these factors are not exhaustive. Other relevant
     considerations include: “whether the declaratory action will settle all aspects of the controversy; whether
25   the declaratory action will serve a useful purpose in clarifying the legal relations at issue; whether the
     declaratory action is being sought merely for the purposes of procedural fencing or to obtain a ‘res
26
     judicata’ advantage; or whether the use of a declaratory action will result in entanglement between the
27   federal and state court systems. In addition, the district court might also consider the convenience of the
     parties, and the availability and relative convenience of other remedies.” Dizol, 133 F.3d at 1237
28   (quoting Am. States Ins. Co. v. Kearns, 15 F.3d 142, 145 (9th Cir. 1994) (Garth, J., concurring)) (internal
     quotation marks omitted).
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 1   Sec. & Exch. Comm’n v. Nat’l Sec., Inc., 393 U.S. 453, 458 (1969) (“[T]he continued
 2   regulation and taxation by the several States of the business of insurance is in the public
 3   interest.” (quoting the McCarran–Ferguson Act, 15 U.S.C. § 1011)).
 4

 5          Under the second Brillhart factor—discouragement of forum shopping—nothing
 6   before the Court indicates that Beazley could not have waited for the Washington state
 7   court to resolve the issue of whether Fitness International’s COVID-related losses are
 8   covered by its insurance policy with Beazley.3 Therefore, the discouragement of forum
 9   shopping counsels somewhat against allowing this action to proceed. See Cont’l Cas. Co.
10   v. Robsac Indus., 947 F.2d 1367, 1372 (9th Cir. 1991), overruled on other grounds by
11   Dizol, 133 F.3d at 1220.
12

13          Finally, under the third Brillhart factor, the Court concludes that deciding
14   Beazley’s declaratory judgment action would result in duplicative litigation. In Fitness
15   International’s Washington action, it seeks, among other things, a declaratory judgment
16   that the losses it suffered are “covered by the 2020/2021 Policy[] and that the Defendant
17   insurers are responsible for fully and timely paying [its] losses.” (Finnegan Decl. Ex. A
18   at 67.) Similarly, Beazley’s current suit seeks a declaratory judgment that Fitness
19   International’s “claimed business income losses for COVID-19 constitute covered losses
20   under the Policy.” (Compl. ¶ 46.) Beazley’s suit thus requires the Court to make factual
21   and legal determinations that substantially overlap with the Washington litigation. This
22   would be an inefficient use of judicial resources.
23

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28    Indeed, Beazley’s fellow defendants in the Washington litigation have already filed a motion to
     dismiss based on forum non conveniens which is still pending before the Washington court. (Id. ¶ 5.)
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 1   V. CONCLUSION
 2

 3         For the foregoing reasons, Fitness International’s motion to stay is GRANTED.
 4   The Clerk is ordered to administrative close the case.
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 6     DATED: May 11, 2021
 7

 8
                                                HON. CORMAC J. CARNEY
 9

10                                          UNITED STATES DISTRICT JUDGE
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